       Case 3:22-cv-20350-MCR-ZCB Document 42 Filed 05/08/23 Page 1 of 3




                                                                   UNITED STATES DISTRICT COURT
                                                                   NORTHERN DISTRICT OF FLORIDA
                                                                   Case No. 3:22-CV-20350-MCR-ZCB

Wendel Currin
                      Plaintiff,

v.

Sergeant Timothy Beavers, Sergeant Walter
Goyer and Lieutenant Derrick Purvis

                 Defendant.
__________________________________/

      DEFENDANT, TIMOTHY BEAVERS’ ANSWER TO AMENDED COMPLAINT
                      AND AFFIRMATIVE DEFENSES

            The Defendant, Timothy Beavers, by and through his undersigned counsel, now

     files his Answer to Amended Complaint and Affirmative Defenses and states as follows:

     1. Defendant, Timothy Beavers, denies each and every allegation in Plaintiff's Amended

        Complaint and demands strict proof thereof.

                                   AFFIRMATIVE DEFENSES

     1. As an Affirmative Defense, Defendant avers that Defendants are entitled to qualified

        immunity and therefore Plaintiff's claim is barred as a result.

     2. As a further Affirmative Defense, Defendant avers that Plaintiff's claims are barred

        and/or limited by the doctrines of sovereign immunity, official immunity, sovereign

        and discretionary act immunity and Federal law.

     3. As a further Affirmative Defense, Defendant states that Plaintiff has failed to exhaust

        the available grievance procedures and therefore, his claims are barred.




                                    Walton Lantaff Schroeder & Carson LLP
                                                       1
  Case 3:22-cv-20350-MCR-ZCB Document 42 Filed 05/08/23 Page 2 of 3



                                                                          Case No. 3:22-CV-20350-MCR-ZCB

4. As a further Affirmative Defense, Defendant avers that Plaintiff has failed to state a

    cause of action under 42 U.S.C. §1983, and as a result, this Honorable Court lacks

    subject matter jurisdiction over Plaintiff's claims. Plaintiff has failed to allege the

    violation of any of his constitutional rights.

5. As a further Affirmative Defense, Defendant states that any injury or damage suffered

    by Plaintiff to the extent actually incurred was caused by Plaintiff’s own wrongful

    acts, reckless misconduct or negligence, and any recovery must be reduced

    accordingly.

6. As a further Affirmative Defense, Defendant states that any recovery by Plaintiff for

    medical bills must be limited to the amounts actually paid or payable, as that is the

    true measure of any damages for such a claim.

7. As a further Affirmative Defense, Defendant states that the cause of this accident is

    due to the fault of others over which this Defendant had no control and to that extent

    the liability of this Defendant should be reduced or barred, and Plaintiff’s damages

    reduced accordingly.

8. Defendant reserves the right to allege additional affirmative defenses as warranted.


                                 DEMAND FOR JURY TRIAL

        The Defendant, Timothy Beavers, hereby demands a trial by jury of all issues

triable as of right by a jury.

                                 CERTIFICATE OF SERVICE


                                  Walton Lantaff Schroeder & Carson LLP
                                           551 NW 77th Street
                                                 Suite 204
                                          Boca Raton, FL 33487
                                                     2
    Case 3:22-cv-20350-MCR-ZCB Document 42 Filed 05/08/23 Page 3 of 3



                                                                     Case No. 3:22-CV-20350-MCR-ZCB

       WE CERTIFY that a copy of the foregoing has been e-filed and e-served to: , this

8th day of May 2023.

.

                                         WALTON LANTAFF SCHROEDER & CARSON LLP
                                         Attorneys for Defendant Timothy Beavers
                                         551 NW 77th Street, Suite 204
                                         Boca Raton Florida 33487
                                         Tel: (561) 689-6700
                                         Fax: (561) 689-2647

                                         By:_/s/ Michele T. Bachoon___
                                           Michele T. Bachoon, Esquire
                                           Florida Bar No.: 74129
                                           E-mail: mbachoon@waltonlantaff.com




                             Walton Lantaff Schroeder & Carson LLP
                                      551 NW 77th Street
                                            Suite 204
                                     Boca Raton, FL 33487
                                                3
